     Case 1:22-cv-10599-PBS    Document 14       Filed 06/22/22     Page 1 of 28




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
JEFFREY ALAN SPINDEL and KEVIN            )
McCARTHY, on behalf of themselves and all )
others similarly situated,                )
                                          )
                Plaintiffs,               )
v.                                        )         Civil Action No. 1:22-cv-10599
                                          )
GORTON’S INC.,                            )
                                          )
                Defendant.                )
__________________________________________)

               MEMORANDUM OF LAW IN SUPPORT OF
          GORTON’S, INC.’S MOTION TO DISMISS THE COMPLAINT



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          Case 1:22-cv-10599-PBS                         Document 14                  Filed 06/22/22               Page 2 of 28




                                      TABLE OF CONTENTS
INTRODUCTION ...........................................................................................................................1
STATEMENT OF FACTS ..............................................................................................................2
LEGAL STANDARD ......................................................................................................................5
ARGUMENT ...................................................................................................................................6
I.        Plaintiffs Fail to State a Claim Under New York and California Consumer Protection
          Statutes Because No Reasonable Consumer Would Have Been Misled by Gorton’s
          Labeling ...............................................................................................................................6
          A.         No Reasonable Consumer Would Agree with Plaintiffs’ Definition for the Term
                     “Sustainably Sourced” .............................................................................................7
                     1.         Gorton’s Tilapia Packaging Makes No Representations About Animal
                                Welfare or Environmental Standards ...........................................................7
                     2.         Gorton’s Explains What “Sustainably Sourced” Means on Its Website......8
                     3.         Commonly Understood Definitions and Industry Guidance Do Not
                                Support Plaintiffs’ Unreasonable Definition of “Sustainably Sourced” ......9
                     4.         None Of The Authorities Cited By Plaintiffs Support Their Contrived
                                Definition of “Sustainably Sourced” .........................................................10
          B.         In Any Event, Plaintiffs Fail to Plead Any Facts Suggesting that Gorton’s
                     Practices Render Its Labeling Misleading .............................................................12
                     1.         Plaintiffs Do Not Allege That All of Gorton’s Tilapia is Farmed in Pond
                                Aquaculture in China .................................................................................12
                     2.         Plaintiffs Do Not Allege that the Use of Ethoxyquin Is Above an
                                Acceptable Level .......................................................................................13
II.       Plaintiffs’ CLRA, FAL and UCL Claims Do Not Satisfy the Heightened Pleading
          Requirements of Rule 9(b) .................................................................................................14
III.      Plaintiffs Have Not Stated a Claim for Breach of Other State Consumer Protection
          Statutes ...............................................................................................................................16
IV.       Plaintiffs Have Not Stated a Claim For Breach of Express Warranty ...............................17
V.        Plaintiffs Have Failed to State a Plausible Claim for Relief Based On Unjust Enrichment17
VI.       Plaintiffs’ Attempts to Plead a Nationwide Unjust Enrichment and Breach of Express
          Warranty Class Fails ..........................................................................................................18
VII.      Plaintiffs Lack Standing to Pursue Injunctive Relief. ........................................................19
CONCLUSION ..............................................................................................................................20




                                                                        i
         Case 1:22-cv-10599-PBS                        Document 14               Filed 06/22/22              Page 3 of 28




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................6

Axon v. Citrus World, Inc.,
   354 F. Supp. 3d 170 (E.D.N.Y. 2018), aff’d sub nom. Axon v. Florida’s
   Natural Growers, Inc., 813 F. App’x 701 (2d Cir. 2020) ........................................................14

Beasley v. Conagra Brands, Inc.,
   374 F. Supp. 3d 869 (N.D. Cal. 2019) .....................................................................................15

Becerra v. Dr Pepper/Seven Up, Inc.,
   945 F.3d 1225 (9th Cir. 2019) .................................................................................................12

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................6

Buck v. Am. Airlines, Inc.,
   476 F.3d 29 (1st Cir. 2007) ........................................................................................................6

City of Los Angeles v. Lyons,
    461 U.S. 95 (1983) ...................................................................................................................19

In re Colonial Mortg. Bankers Corp.,
    324 F.3d 12 (1st Cir. 2003) ........................................................................................................6

DaCorta v. AM Retail Grp., Inc.,
  2018 WL 557909 (S.D.N.Y. Jan. 23, 2018) ............................................................................19

Ehlers v. Ben and Jerry’s Homemade Inc.,
   2020 WL 2218858 (D. Vt. May 7, 2020) ................................................................................20

Ferrari v. Vitamin Shoppe, Inc.,
   2018 WL 1586028 (D. Mass. Mar. 30, 2018) ..........................................................................15

Fitzgerald v. Polar Corp.,
    2020 WL 6586628 (D. Mass. Nov. 10, 2020) .........................................................................17

In re G-Fees Antitrust Litig.,
    584 F. Supp. 2d 26 (D.D.C. 2008) ...........................................................................................16


                                                                    ii
         Case 1:22-cv-10599-PBS                       Document 14               Filed 06/22/22              Page 4 of 28




Grajales v. P.R. Ports Auth.,
   682 F.3d 40 (1st Cir. 2012) ..................................................................................................6, 14

Haley v. City of Boston,
   657 F.3d 39 (1st Cir. 2011) ................................................................................................3, 4, 8

Hines v. Overstock.com, Inc.,
   2013 WL 4495667 (E.D.N.Y. Aug. 19, 2013) .........................................................................19

Jackson v. Johnson & Johnson & Janssen Pharm., Inc.,
   330 F. Supp. 3d 616 (D. Mass. 2018) ......................................................................................17

Laborers’ Pension Fund v. Blackmore Sewer Constr., Inc.,
   298 F.3d 600 (7th Cir. 2002) ...................................................................................................10

Lima v. Post Consumer Brands, LLC,
   2019 WL 3802885 (D. Mass. Aug. 13, 2019) ...................................................................17, 18

A.G. ex rel. Maddox v. Elsevier, Inc.,
   732 F.3d 77 (1st Cir. 2013) ........................................................................................................5

Mazella v. Coca-Cola Co.,
  548 F. Supp. 3d 349 (S.D.N.Y. 2021)......................................................................................12

Nebraska v. E.P.A.,
   331 F.3d 995 (D.C. Cir. 2003) .................................................................................................10

O’Hara v. Diageo-Guinness, USA, Inc.,
   306 F. Supp. 3d 441 (D. Mass. 2018) ......................................................................................19

O’Shea v. Littleton,
   414 U.S. 488 (1974) .................................................................................................................19

Orlander v. Staples, Inc.,
   802 F.3d 289 (2d Cir. 2015).......................................................................................................6

Reed v. Zipcar, Inc.,
   883 F. Supp. 2d 329 (D. Mass. 2012)
   aff’d, 527 F. App’x 20 (1st Cir. 2013) .....................................................................................18

Santagate v. Tower,
   833 N.E.2d 171 (2005).............................................................................................................18

Semegen v. Weidner,
   780 F.2d 727 (9th Cir. 1985) ...................................................................................................15

Steir v. Girl Scouts of the USA,
    383 F.3d 7 (1st Cir. 2004) ........................................................................................................19

                                                                   iii
          Case 1:22-cv-10599-PBS                        Document 14               Filed 06/22/22              Page 5 of 28




Tatum v. Oberg,
   650 F. Supp. 2d 185 (D. Conn. 2009) ......................................................................................16

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
    551 U.S. 308 (2007) ...................................................................................................................6

Thomas v. Costco Wholesale Corp.,
   2013 WL 1435292 (N.D. Cal. Apr. 9, 2013) ...........................................................................15

Univ. Baptist Church of Fort Worth v. Lexington Ins. Co.,
   346 F. Supp. 3d 880 (N.D. Tex. 2018),
   aff’d, 787 F. App’x 194 (5th Cir. 2019) ...................................................................................16

Vess v. Ciba–Geigy Corp. USA,
   317 F.3d 1097 (9th Cir. 2003) .................................................................................................15

Warth v. Seldin,
  422 U.S. 490 (1975) .................................................................................................................16

In re Wellbutrin XL Antitrust Litig.,
    260 F.R.D. 143 (E.D. Pa. 2009) ...............................................................................................19

Williams v. Gerber Prod. Co.,
   552 F.3d 934 (9th Cir. 2008) .....................................................................................................6

Young v. Wells Fargo & Co.,
   671 F. Supp. 2d 1006 (S.D. Iowa 2009) ..................................................................................18

Statutes

Cal. Civ. Code § 1750, et seq................................................................................................. passim

Cal. Bus. & Prof. Code § 17500, et seq. ................................................................................ passim

Cal. Bus. & Prof. Code § 17200, et seq. ................................................................................ passim

N.Y. Gen. Business Law § 349(a) and § 350............................................................................... 5-6

Other Authorities

Fed. R. Civ. P. 9(b) .............................................................................................................. 2, 15-16

Fed. R. Civ. P. 12(b)(6)....................................................................................................................5

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21 C.F.R. § 573.380(a)...............................................................................................................5, 13

75 Fed. Reg. 63,552 (Oct. 15, 2010) ..............................................................................................10
                                                                     iv
          Case 1:22-cv-10599-PBS                          Document 14                 Filed 06/22/22               Page 6 of 28




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   1, 2012) ............................................................................................................................4, 9, 11
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   2017) ........................................................................................................................................12

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   Seafood Sustainability, 17 Fish & Fisheries 825 (Sept. 2016) ................................................11

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    Welfare-Labelled Salmon in a Non-Hypothetical Choice Experiment, 127
    Livestock Sci. 218 (Feb. 2010) ................................................................................................12




                                                                        v
       Case 1:22-cv-10599-PBS            Document 14       Filed 06/22/22      Page 7 of 28




        Defendant Gorton’s, Inc. (“Gorton’s”) submits the following memorandum in support of

its Motion to Dismiss Plaintiffs’ Jeffrey Alan Spindel’s and Kevin McCarthy’s (“Plaintiffs”)

Complaint (Dkt. 1).

                                         INTRODUCTION

        Gorton’s is a storied Massachusetts institution which has proudly sold a variety of fish

products to families in and outside the Commonwealth since 1849. In this baseless putative class

action lawsuit, Plaintiffs seek to recover damages from Gorton’s based on a single statement

made on Gorton’s tilapia packaging regarding its fish being “sustainably sourced.” To do so,

Plaintiffs invent their own definition for “sustainably sourced,” and then necessarily assert that

Gorton’s fails to meet their artificial definition.

        Gorton’s website, which is referenced on Gorton’s tilapia packaging and is relied upon

extensively in Plaintiffs’ Complaint, describes what “sustainably sourced” means and how

Gorton’s meets the standard. The website explains that Gorton’s sources its tilapia from aquatic

farms certified for Best Aquaculture Practices, and that Gorton’s has a vibrant partnership with

the New England Aquarium to ensure good practices are met for Gorton’s fish. Even if

customers relied on a dictionary definition for “sustainably sourced,” they would understand that

this simply means “capable of continuing,” and that raising fish in aquatic farms is fully

consistent with that definition.

        Plaintiffs do not, and cannot, point to a single authority suggesting that “sustainably

sourced” means what they say it means. Their citation in the Complaint to federal guidance falls

flat because no single definition of “sustainably sourced” from the federal government exists.

Nor are Plaintiffs’ miscites to consumer surveys and studies successful, as not one of these

sources actually addresses the meaning of “sustainably sourced,” and most are completely


                                                  -1-
       Case 1:22-cv-10599-PBS            Document 14        Filed 06/22/22      Page 8 of 28




irrelevant. Put simply, Plaintiffs offer no facts on which to credit their bare assertion about the

meaning of “sustainably sourced” over what Gorton’s clearly states on its website. As a result,

Plaintiffs have failed to allege a plausible claim for relief under the consumer protection statutes,

let alone one that meets the heightened standard of Federal Rule of Civil Procedure Rule 9(b),

which is required for many of Plaintiffs’ claims.

        In an attempt to bolster their flimsy claims, Plaintiffs also suggest that the feed for

Gorton’s tilapia may have contained trace amounts of a chemical called ethoxyquin and this too

makes the “sustainably sourced” label deceiving. This argument is wrong and a red herring: the

Food and Drug Administration expressly permits the presence of ethoxyquin in fish feed, as well

as in the spices that Gorton’s uses on at least one of its tilapia products. Notably, Plaintiffs do

not even try to allege that the amount of ethoxyquin is above the amount permitted by the FDA.

This flaw is fatal to their claims.

        Among other deficiencies, Plaintiffs also lack standing to pursue injunctive relief, as they

admit they no longer buy Gorton’s fish and because they fail to plausibly allege that Gorton’s

packaging still says “sustainably sourced.”

        Accordingly, and for the reasons set forth below, the Motion should be granted and the

Complaint dismissed without leave to amend.

                                      STATEMENT OF FACTS

Gorton’s, Inc.’s Commitment to Sustainability

        Gorton’s produces high-quality fish products, including tilapia products. (Compl. ¶¶ 70-

71.) Gorton’s sells its products in the United States through large, well-known grocery chains

and general merchandise retailers such as WalMart. (Compl. ¶¶ 12 ,72.)




                                                 -2-
       Case 1:22-cv-10599-PBS          Document 14        Filed 06/22/22      Page 9 of 28




        Gorton’s has several sustainability and quality initiatives, which are designed to ensure

that its processes “meet the highest standards” while “bring[ing] the goodness of the sea to

everyone.”1 As part of this effort, Gorton’s has partnered with the New England Aquarium for

over 14 years on projects designed to improve ocean health and promote sustainable fisheries.2

Gorton’s works with the Aquarium’s sustainable seafood program to analyze the global fish

supplies that Gorton’s uses for its business, with an eye towards promoting sustainability.3

Gorton’s also sources over 99% of its seafood from sources certified with groups that assess

sustainable fishing and aquaculture practices, including the Marine Stewardship Council (MSC),

Aquaculture Stewardship Council (ASC), Best Aquaculture Practices (BAP), or in a credible

Fishery Improvement Project.4 Furthermore, all of Gorton’s suppliers go through an annual risk

assessment and are subject to third party inspections and audits to ensure they meet Gorton’s

strict standards.5

        Gorton’s sources its fish from across the globe, including the Atlantic Ocean, Bering Sea,

and from farm-raised aquaculture (a process the Complaint also refers to as “fish farming”).6

(Compl. ¶ 30.) Gorton’s tilapia products specifically are sourced by farm-raised aquaculture




1
  Gortons, We Are Gortons, available at https://www.gortons.com/we-are-gortons/ (Theophila
Decl., Ex. 2); see also Gortons, Responsibility, available at
https://www.gortons.com/sustainability/ (Theophila Decl., Ex. 4). The Complaint references
Gorton’s website at ¶¶ 2 n.3, 3 n.4, 17-18 nn.7-8, 19 nn.10-11, and the website is therefore
incorporated by reference in the Complaint. Haley v. City of Boston, 657 F.3d 39, 46 (1st Cir.
2011).
2
  Gortons, Responsibility, available at https://www.gortons.com/sustainability/.
3
  Gortons, In the News, available at https://www.gortons.com/gortons-aquarium-see-partnering-
gains/ (Theophila Decl., Ex. 5).
4
  Gortons, Responsibility, available at https://www.gortons.com/sustainability/.
5
  Gortons, Responsibility, available at https://www.gortons.com/sustainability/.
6
  Gortons, FAQ, available at https://www.gortons.com/frequently-asked-questions/ (Theophila
Decl., Ex. 3).

                                                -3-
      Case 1:22-cv-10599-PBS           Document 14       Filed 06/22/22      Page 10 of 28




from countries including China, a fact that Gorton's expressly discloses on its website.7 All the

farms that Gorton’s sources tilapia from are certified by the BAP or ASC, meaning they have

been certified as following best practices for delivering farmed seafood.8

The Complaint’s Allegations

       Plaintiffs Spindel and McCarthy allegedly purchased Gorton’s tilapia products from their

local retailers in New York and California. (Compl. ¶¶ 75, 81.) Plaintiffs do not allege–because

they cannot–that Gorton’s charged a premium for products labeled as “sustainably sourced.”

Plaintiffs fail to specify which products they purchased, instead claiming they purchased

Gorton’s tilapia products “with the claims about sustainability” from “2018 through 2020.”

(Compl. ¶¶ 75, 81.) But Gorton’s has multiple tilapia products, each of which has different

packaging. Plaintiffs include a picture of Gorton’s Signature Grilled Tilapia package in their

Complaint, but do not allege the package is still in use. (Compl. ¶¶ 3, 75-76, 81-82.)

       Plaintiffs challenge a statement on the packaging of Gorton’s tilapia products, namely

that the products are “sustainably sourced.” (Compl. ¶ 3.) The Federal Trade Commission

(“FTC”) has refused to define the term “sustainable… given the wide range of [possible]

meanings.” FTC, Green Guides, Statement of Basis and Purpose, at 258 (Oct. 1, 2012),

https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-issues-revised-green-

guides/greenguidesstatement.pdf.9 Even though there is no FTC definition for the term

“sustainable,” Plaintiffs argue that Gorton’s tilapia is not “sustainably sourced” because the




7
  Gortons, FAQ, available at https://www.gortons.com/frequently-asked-questions/.
8
  Gortons, Responsibility, available at https://www.gortons.com/sustainability/.
9
  The Complaint references the Green Guides at ¶ 21 n.12, and the Guides are therefore
incorporated by reference in the Complaint. Haley, 657 F.3d at 46 (internal citations omitted).

                                               -4-
      Case 1:22-cv-10599-PBS           Document 14       Filed 06/22/22      Page 11 of 28




tilapia is farmed – a practice Plaintiffs allege is unsustainable because fish farming supposedly

uses “environmentally destructive and inhumane” practices. (Compl. ¶¶ 5, 25.)

       Plaintiffs also allege that Gorton’s tilapia contains ethoxyquin, a chemical that allegedly

“poses a risk for aquatic life.” (Compl. ¶¶ 38-40.) However, the Food and Drug Administration

(“FDA”) expressly permits the presence of certain amounts of ethoxyquin in fish feed. See 21

C.F.R. § 573.380(a). The FDA also permits residues of ethoxyquin in or on chili powder, ground

chili, and paprika – ingredients that are commonly used as seasonings on fish, including Gorton’s

Signature Grilled Tilapia. 21 C.F.R. § 172.140; see also (Theophila Decl., Ex. 1). Plaintiffs do

not allege what amount of ethoxyquin is present in Gorton’s tilapia, let alone that the amount

exceeds what is permitted by the FDA.

       Based on these allegations, Plaintiffs bring claims under: New York General Business

Law § 349(a) and § 350 (“NYGBL”); California Consumer Legal Remedies Act, Cal. Civ. Code

§ 1750, et seq. (“CLRA”); California’s False Advertising Law, Cal. Bus. & Prof. Code § 17500,

et seq. (“FAL”); California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.

(“UCL”); the deceptive practices acts of over thirty states; and the unjust enrichment and breach

of express warranty common law of “each of the states where the Products are sold.” (Compl. ¶¶

111-189.) Although Plaintiffs only purchased Gorton’s tilapia products in New York and

California, Plaintiffs seek to represent a nationwide class of purchasers. (Compl. ¶¶ 10, 75, 81.)

                                      LEGAL STANDARD

       To evaluate a motion to dismiss for failure to state a claim under Federal Rule of Civil

Procedure 12(b)(6), the Court must “‘accept as true all well-pleaded facts alleged in the

complaint and draw all reasonable inferences therefrom in the pleader’s favor.’” A.G. ex rel.

Maddox v. Elsevier, Inc., 732 F.3d 77, 80 (1st Cir. 2013) (citation omitted). To survive


                                               -5-
      Case 1:22-cv-10599-PBS           Document 14         Filed 06/22/22      Page 12 of 28




dismissal, the Complaint must contain sufficient facts “to state a claim to relief that is plausible

on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “To cross the plausibility

threshold a claim does not need to be probable, but it must give rise to more than a mere

possibility of liability.” Grajales v. P.R. Ports Auth., 682 F.3d 40, 44–45 (1st Cir.

2012) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Although well-pleaded factual

allegations should be accepted as true, “bald assertions, unsupportable conclusions . . . and the

like need not be credited.” Buck v. Am. Airlines, Inc., 476 F.3d 29, 33 (1st Cir. 2007).

       When evaluating motions to dismiss, courts may consider any “documents

incorporated by reference in [the complaint], matters of public record, and other matters

susceptible to judicial notice.” In re Colonial Mortg. Bankers Corp., 324 F.3d 12, 20 (1st Cir.

2003); see Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). Gorton’s

website, Gorton’s Signature Grilled Tilapia packaging, the FTC’s Green Guides, and the articles

cited in the Complaint are incorporated into the Complaint by reference and integral to the

Complaint, and therefore may be considered by this Court on a motion to dismiss. (Compl. ¶¶ 2

n.3, 3, 4 n.4, 17-18 n.7-8, 19 n.10-11, 21 n.12, 22 n.14, 23 n.15, 24 n.16-17, 26 n.18, 51 n.41.)

                                           ARGUMENT

I.     Plaintiffs Fail to State a Claim Under New York and California Consumer
       Protection Statutes Because No Reasonable Consumer Would Have Been Misled by
       Gorton’s Labeling

       To prevail on their claims under NYGBL §§ 349 and 350, and California’s CLRA, FAL,

and UCL, Plaintiffs must show that a reasonable consumer would have been misled or deceived

by Gorton’s packaging. Orlander v. Staples, Inc., 802 F.3d 289, 300 (2d Cir. 2015) (to prove

conduct is misleading under NYGBL §§ 349 and 350, a plaintiff must demonstrate that “a

reasonable consumer acting reasonably under the circumstances” would be misled); Williams v.

Gerber Prod. Co., 552 F.3d 934, 938 (9th Cir. 2008) (claims under the UCL, FAL, and CLRA
                                              -6-
         Case 1:22-cv-10599-PBS         Document 14        Filed 06/22/22      Page 13 of 28




“are governed by the ‘reasonable consumer’ test” meaning “‘members of the public are likely to

be deceived’” (citation omitted)). Plaintiffs fail to plead facts suggesting that any reasonable

consumer would share their definition for “sustainably sourced.” Even if the Court were to

credit this definition (which the Court should not), Plaintiffs fail to plead any facts to plausibly

allege that Gorton’s practices make its use of the phrase misleading.

         A.     No Reasonable Consumer Would Agree with Plaintiffs’ Definition for the
                Term “Sustainably Sourced”

         Plaintiffs fail to plausibly allege that a reasonable consumer would share their fanciful

interpretation of the term “sustainably sourced.” Rather, Gorton’s customers understand

“sustainably sourced” to mean exactly what Gorton’s states on its website: that Gorton’s is

committed to sourcing its tilapia from BAP-certified farms, and that Gorton’s continues to work

on its sustainability efforts with partners like the New England Aquarium. Moreover, reasonable

customers would consider the common definition of the phrase, which Gorton’s easily meets.

None of the sources identified by Plaintiffs support their contrary definition.

                1.      Gorton’s Tilapia Packaging Makes No Representations About Animal
                        Welfare or Environmental Standards

         Plaintiffs allege that they understood “sustainably sourced” on Gorton’s packaging to be

synonymous “with high environmental and animal welfare standards.” (Compl. ¶¶ 25, 48.) But

this definition exists only in Plaintiffs’ imagination, as Gorton’s tilapia does not say this—in fact,

Gorton’s makes no representations about animal welfare or environmental standards at all on its

label:




                                                 -7-
      Case 1:22-cv-10599-PBS           Document 14       Filed 06/22/22      Page 14 of 28




(Compl. ¶ 3; Theophila Decl., Ex. 1.) The package simply states: “sustainably sourced.” If

purchasers have any questions regarding what this means, the package also directs customers to a

sustainability page on Gorton’s website (www.gortons.com/sustainability) that provides

additional information on Gorton’s sustainability efforts.10 (Theophila Decl., Ex. 4.)

               2.      Gorton’s Explains What “Sustainably Sourced” Means on Its Website

       Gorton’s website expressly informs customers that its products are sustainably sourced

because they are certified as such by leading aquaculture groups. Specifically, Gorton’s explains

that over 99% of Gorton’s seafood is “from sources that are certified with the Marine

Stewardship Council (MSC), Aquaculture Stewardship Council (ASC), Best Aquaculture

Practices (BAP) or in a credible Fishery Improvement Project.”11 Plaintiffs do not allege that

this statement is deceptive or untrue, nor could they, as Gorton’s tilapia products are farmed in

compliance with BAP or ASC standards.

       The website also states that, to Gorton’s, “sustainably sourced” seafood is seafood that is

sourced with the “health of the ocean and fish stocks” in mind.12 Gorton’s delivers on this

promise through strategic partnerships, including its 14-year partnership with the New England


10
   The Complaint refers to Gorton’s tilapia packaging at Compl. ¶¶ 3, 13, 15-16, 54, 76, 82.
Gorton’s tilapia packaging is therefore incorporated by reference in the Complaint. See Haley,
657 F.3d at 46 (internal citations omitted).
11
   See Gortons, Responsibility, available at https://www.gortons.com/sustainability/.

                                               -8-
         Case 1:22-cv-10599-PBS       Document 14        Filed 06/22/22     Page 15 of 28




Aquarium, with which Gorton’s has worked on sustainability efforts to improve ocean health,

and to ensure that fish are farmed in ways that protect the long-term supply of seafood and

minimize the impact on ecosystems.13 Again, Plaintiffs fail to allege these statements are

deceptive, nor could they, as farmed fish provides a supplemental fish source, and allows wild

sources of fish to replenish.

                3.     Commonly Understood Definitions and Industry Guidance Do Not
                       Support Plaintiffs’ Unreasonable Definition of “Sustainably Sourced”

         As discussed above, Gorton’s clearly defines “sustainably sourced” on Gorton’s website

(which is linked on Gorton’s tilapia packaging). However, to the extent this Court finds that the

definition on Gorton’s website is not dispositive, commonly understood definitions and guidance

from industry leaders also provide no support for Plaintiffs’ unreasonable definition. This

guidance indicates that “sustainable” is not synonymous with high environmental or animal

welfare standards, and instead implies non-environmental benefits, such as being capable of

continuing. For example:

     •   Merriam-Webster defines “sustainable” as “capable of being sustained,” or “using a
         resource so that the resource is not depleted or permanently damaged.” Merriam-
         Webster, Sustainable, available at https://www.merriam-
         webster.com/dictionary/sustainable.

     •   The Environmental Protection Agency has defined “sustainable” as “characteristic of
         systems . . . the quality of being able to continue in their present state and mode of
         operation indefinitely.” See FTC, Green Guides, Statement of Basis and Purpose, at 252
         (Oct. 1, 2012).

         Consumers share this understanding. In the FTC’s proposed revisions to the Green

Guides in 2010, the FTC discussed U.S. consumers’ perceptions of the broader terms


12
  Id.
13
   Id.; see also Gorton’s, In The News, available at https://www.gortons.com/gortons-seafood-
and-the-new-england-aquarium-celebrate-10-years-of-improving-and-promoting-sustainable-
fisheries/ (Theophila Decl., Ex. 6).

                                               -9-
      Case 1:22-cv-10599-PBS           Document 14         Filed 06/22/22      Page 16 of 28




“sustainable” or “sustainability.” Fed. Trade Comm., Guides for the Use of Environmental

Marketing Claims, Proposed Revisions to Guidelines, 75 Fed. Reg. 63,552, 63,583 (Oct. 15,

2010) (emphasis added). The FTC concluded that “perception evidence indicates that the claim

[sustainable] has no single environmental meaning to a significant number of consumers or . . .

it conveys nonenvironmental characteristics (e.g., durable or long-lasting).” Id. (emphasis

added). The FTC also found that “consumers view sustainable claims differently than general

environmental benefit claims,” and only a small minority of consumers stated that the term

“sustainable” suggested a product is “good for,” “helps,” or “benefits” the environment. Id.

       Nor is farmed fish inconsistent with sustainable sourcing, as it provides a continuous and

supplemental source of fish while allowing wild-caught fish sources to replenish. For this

reason, the National Oceanic and Atmospheric Administration has expressly referred to farmed

fish as sustainable, stating that: “Marine aquaculture provides a . . . source of economically and

environmentally sustainable seafood that complements and supports our wild fisheries

production.” NOAA, Marine Aquaculture, available at https://www.fisheries.noaa.gov/insight/

understanding-marine-aquaculture.14 Tellingly, Plaintiffs do not allege that Gorton’s will have to

begin sourcing tilapia from other sources, or that it will not be able to continue to source tilapia

from farms.

               4.      None Of The Authorities Cited By Plaintiffs Support Their Contrived
                       Definition of “Sustainably Sourced”

       Plaintiffs argue that the phrase “sustainably sourced” implies a high environmental and

animal welfare standard. Yet the sources Plaintiffs rely on fail to help them, as they point to a


14
   A federal court may take judicial notice of information on an official government website.
See, e.g., Laborers’ Pension Fund v. Blackmore Sewer Constr., Inc., 298 F.3d 600, 607 (7th Cir.
2002) (taking judicial notice of information from FDIC’s official website); Nebraska
v. E.P.A., 331 F.3d 995, 998 n.3 (D.C. Cir. 2003).

                                                - 10 -
      Case 1:22-cv-10599-PBS            Document 14        Filed 06/22/22      Page 17 of 28




federal definition of sustainable (which does not exist) and consumer surveys (which are

inapposite).

       First, Plaintiffs try to argue that “[f]ederal guidance” from the FTC supports their

definition of sustainable. (Compl. ¶¶ 20-21.) The Green Guides, however, expressly state that

the FTC does not have the legal authority to define the term “sustainable,” or a sufficient basis to

provide specific guidance as to how consumers perceive the term. FTC, Green Guides,

Statement of Basis and Purpose, at 258 (Oct. 1, 2012) (“the Commission does not have the legal

authority” to define the term “sustainable”); id (“[G]iven the wide range of meanings of

‘sustainable,’ the Commission lacks a basis for providing this guidance.”)

       Even worse, Plaintiffs then cite to an FTC warning letter dealing with sustainability

claims in the diamond industry—an industry that is completely inapposite here. (Compl. ¶ 21

n.12 (citing Federal Trade Commission, FTC Sends Warning Letters to Companies Regarding

Diamond Ad Disclosures (Apr. 2, 2019), available at https://www.ftc.gov/news-

events/news/press-releases/2019/04/ftc-sends-warning-letters-companies-regarding-diamond-ad-

disclosures).)

       Second, Plaintiffs state that that “consumer research shows that marketing like Gorton’s

leads consumers to believe that the Products are sustainably sourced in accordance with high

environmental and animal welfare standards.” (Compl. ¶ 14.) Not so, as not one of the surveys

cited by Plaintiffs even addresses the meaning of “sustainably sourced”:

           •     Plaintiffs cite Loren McClenachan et al., Fair Trade Fish: Consumer Support for
                 Broader Seafood Sustainability, 17 Fish & Fisheries 825 (Sept. 2016), but that
                 article discusses consumer perception of the term “ecologically sustainable.” See
                 (Compl. ¶ 24 n. 16-17). No such claim is made here.

           •     Another study cited by Plaintiffs studied European (not American) consumers’
                 willingness to pay for seafood with different sustainability attributes; furthermore,
                 the study did not gauge consumer reactions to the label “sustainably sourced,” but

                                                 - 11 -
      Case 1:22-cv-10599-PBS             Document 14        Filed 06/22/22       Page 18 of 28




                  to the term “sustainably produced.” (Compl. ¶¶ 22-23 n.14-15 (citing Katrin
                  Zander et al., Consumers’ Willingness to Pay for Sustainable Seafood Made in
                  Europe, 30 J. Int’l Food & Agribusiness Mktg. 251, 252 (Dec. 22, 2017)).)

              •   The last source Plaintiffs rely on deals with Norwegian consumers’ willingness to
                  pay for “organic and animal welfare-labelled salmon.” (Compl. ¶ 51 n.41 (citing
                  Ingrid Olesen et al., Eliciting Consumers’ Willingness to Pay for Organic and
                  Welfare-Labelled Salmon in a Non-Hypothetical Choice Experiment, 127
                  Livestock Sci. 218 (Feb. 2010), https://pubag.nal.usda.gov/catalog/775401).)

        In short, not one of the sources Plaintiffs cite regarding consumer interpretation and

understanding deals with the phrase “sustainably sourced,” rendering them irrelevant. See, e.g.,

Becerra v. Dr Pepper/Seven Up, Inc., 945 F.3d 1225, 1230-31 (9th Cir. 2019) (finding consumer

survey insufficient to establish the plausibility of plaintiff’s false advertising claims); Mazella v.

Coca-Cola Co., 548 F. Supp. 3d 349, 357–58 (S.D.N.Y. 2021) (granting motion to dismiss, and

holding that consumer survey cited by plaintiffs did not support plaintiffs’ allegation that

statement “Slightly Sweet” on product label implied that product was low in sugar).

        B.        In Any Event, Plaintiffs Fail to Plead Any Facts Suggesting that Gorton’s
                  Practices Render Its Labeling Misleading

        Even if the Court were to find that a reasonable consumer would share Plaintiffs’

definition, Plaintiffs’ claims still fail. Plaintiffs argue that Gorton’s tilapia is not “sustainably

sourced” because (i) some of Gorton’s tilapia is raised in aquatic farms in China and (ii) some of

Gorton’s tilapia contain some amount of ethoxyquin. Neither assertion is sufficient to state a

claim here.

                  1.     Plaintiffs Do Not Allege That All of Gorton’s Tilapia is Farmed in Pond
                         Aquaculture in China

        Even if farmed fish cannot be considered sustainably sourced under Plaintiffs’ definition,

Plaintiffs’ Complaint still fails because Plaintiffs have failed to allege that all of Gorton’s tilapia

is farmed in China. The Complaint includes a smattering of allegations regarding the

environmental and animal welfare impact of “pond aquaculture” in China. (Compl. ¶¶ 29-48.)
                                                 - 12 -
      Case 1:22-cv-10599-PBS           Document 14        Filed 06/22/22      Page 19 of 28




However, the Complaint does not allege that all tilapia in China are farmed in this way, or

specifically allege that Gorton’s tilapia is grown in these ponds. Instead, the Complaint merely

alleges that some of Gorton’s tilapia comes from China, and that pond aquaculture is sometimes

used in China. (Compl. ¶ 26 (“Upon information and belief, the Products are made from tilapia

sourced, at least in part, from China” (emphasis added)); ¶ 29 (“Tilapia farms in China use

primarily an ecologically dangerous method of tilapia production known as pond aquaculture”

(emphasis added)). Because Plaintiffs fail to sufficiently link Gorton’s products to pond

aquaculture in China, their claims fail.

               2.      Plaintiffs Do Not Allege that the Use of Ethoxyquin Is Above an
                       Acceptable Level

       Plaintiffs also allege that Gorton’s tilapia cannot be sustainably sourced because of the

use of the chemical “ethoxyquin” as a preservative in industrial fish feed, which poses “risks[s]

for aquatic life” and the environment. (Compl. ¶¶ 38-40.)15

       Plaintiffs ignore the fact that the FDA expressly permits companies like Gorton’s to use

ethoxyquin in its products.16 The FDA has established certain tolerances of ethoxyquin residue

that may be found in animal fat or meat as a result of the use of ethoxyquin in animal feed. See

21 C.F.R. § 172.140; 21 C.F.R. § 573.380(a). In addition, the FDA has established food additive

tolerances for residues of ethoxyquin in/on chili powder, ground chili spices, and paprika, as


15
   Plaintiffs also argue that the presence of ethoxyquin is evidence of the “true nature and
sourcing” of Gorton’s products, meaning that the fish were farmed. (Compl. ¶ 55.) However,
Plaintiffs’ allegations that Gorton’s hides the “true nature and sourcing” of its tilapia products is
directly contradicted by the clear disclosures on Gorton’s website, which state that Gorton’s
“procure[s] farm-raised aquaculture seafood, including tilapia and shrimp, from various
countries, including Ecuador, China, Indonesia, Vietnam, and India.” See
Gortons, FAQ, available at https://www.gortons.com/frequently-asked-questions/. On its
website, Gorton’s also discloses that it sources its fish from sources that are certified by the ASC
or BAP, both of which only certify farmed seafood.
16
   Instead, the Plaintiffs rely on European Union guidance, which is irrelevant. (Compl. ¶ 39.)

                                                - 13 -
      Case 1:22-cv-10599-PBS           Document 14        Filed 06/22/22      Page 20 of 28




ethoxyquin is commonly used in these spices to help preserve color. 21 C.F.R. § 172.140

(“Ethoxyquin… may be safely used as an antioxidant for preservation of color in the production

of chili powder, paprika, and ground chili at levels not in excess of 100 parts per million.”).

Plaintiffs do not allege the level at which ethoxyquin was allegedly found in one of Gorton’s

products, let alone allege that the level exceeds the tolerances expressly permitted by the FDA,

which is fatal to their claims. See, e.g., Axon v. Citrus World, Inc., 354 F. Supp. 3d 170, 183

(E.D.N.Y. 2018) (“Given the widespread use of herbicides, the court finds it ‘implausible that a

reasonable consumer would believe that a product labeled [natural] could not contain a trace

amount of glyphosate that is far below the amount’ deemed tolerable by the FDA.”), aff’d sub

nom. Axon v. Florida’s Natural Growers, Inc., 813 F. App’x 701 (2d Cir. 2020).

       Even assuming that the use of ethoxyquin in fish feed is inconsistent with “sustainably-

farmed” fish, as Plaintiffs contend, the ethoxyquin allegedly detected in Gorton’s products may

not have come from fish feed at all. Some of Gorton’s tilapia products—including Gorton’s

Signature Grilled Tilapia, which Plaintiffs reference in the Complaint (Compl. ¶ 3)—contain

paprika. (Theophila Decl., Ex. 1 at “Ingredients.”) Because ethoxyquin can be added to paprika

as a color preservative, the ethoxyquin detected could just as plausibly be due to the inclusion of

paprika in the final product. See Grajales, 682. F.3d at 44–45 (a complaint must “give rise to

more than a mere possibility of liability”). Because Plaintiffs have failed to allege that the

presence of any (let alone excess) ethoxyquin results from the use of ethoxyquin in fish feed,

they have failed to plausibly allege that Gorton’s tilapia is not sustainably sourced.

II.    Plaintiffs’ CLRA, FAL and UCL Claims Do Not Satisfy the Heightened Pleading
       Requirements of Rule 9(b)

       Plaintiffs’ CLRA, FAL and UCL claims fail for the separate reason that they are not pled

with particularity. Claims under California’s FAL, UCL, and CLRA that sound in fraud trigger

                                               - 14 -
      Case 1:22-cv-10599-PBS           Document 14         Filed 06/22/22      Page 21 of 28




the heightened pleading standard of Rule 9(b). See Vess v. Ciba–Geigy Corp. USA, 317 F.3d

1097, 1102–05 (9th Cir. 2003). Rule 9(b) requires a plaintiff to “state with particularity the

circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). “‘The plaintiff must set forth

what is false or misleading about a statement, and why it is false.’” Vess, 317 F.3d at 1102–05.

       Plaintiffs’ fraud allegations are not stated with particularity. The Complaint does not

allege with specificity which tilapia products the Plaintiffs purchased, or when. Rather, the

Complaint states that Plaintiffs purchased “Gorton’s tilapia Products with the claims about

sustainability” from “2018 through 2020.” (Compl. ¶¶ 75, 81.) However, Gorton’s sells

multiple tilapia products, and Plaintiffs fail to allege that the products or packaging were

substantially similar.17 Nor do Plaintiffs plausibly allege that Gorton’s tilapia products still say

“sustainably sourced” on the label.

       Because Plaintiffs fail to specify which products they purchased, or when, Gorton’s is

unable to ascertain the packaging that Plaintiffs allege to have been deceived by. Therefore,

Plaintiffs’ allegations are insufficient to allow Gorton’s to “defend against the charge.”

See Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985); see also Beasley v. Conagra

Brands, Inc., 374 F. Supp. 3d 869, 881 (N.D. Cal. 2019) (allegations that plaintiff “regularly

purchased Crunch ‘n Munch during the Class Period” were insufficient to meet Rule 9(b),

particularly when the defendant stopped the challenged practice during the relevant time period).

This deficiency alone requires dismissal of the UCL, FAL, and CLRA claims. Thomas v. Costco

Wholesale Corp., 2013 WL 1435292, at *6 (N.D. Cal. Apr. 9, 2013) (dismissing complaint


17
  Separately, Plaintiffs also lack standing to assert misrepresentation claims on behalf of
Gorton’s tilapia products that do not have, and have never had, “substantially similar”
sustainably sourced labels. See Ferrari v. Vitamin Shoppe, Inc., 2018 WL 1586028, at *2 n.4 (D.
Mass. Mar. 30, 2018).


                                                - 15 -
       Case 1:22-cv-10599-PBS          Document 14        Filed 06/22/22       Page 22 of 28




alleging UCL, FAL and CLRA violations where plaintiff “fails to unambiguously specify the

particular products that have violated particular labeling requirements . . . [and] the allegedly

unlawful representations that were on which products”).

III.   Plaintiffs Have Not Stated a Claim for Breach of Other State Consumer Protection
       Statutes

       In Count VI, Plaintiffs allege violations of dozens of other states’, and the District of

Columbia’s, consumer protection statutes. Although the specifics of each statute vary, “[t]he

modern consumer protection statutes in effect in all the states prohibit deceptive acts or practices

in one form or another.” § 128 STATE INTERPRETATIONS, CONSUMER LAW SALES

PRACTICES AND CREDIT REGULATION. As described above, because Plaintiffs fail to

allege that the “sustainably sourced” label was deceptive, their claims under state consumer

protection statutes fail. Moreover, because they are based in fraud, Rule 9(b) may apply to many

of these claims, and Plaintiffs do not meet Rule 9(b)’s requirements. See, e.g., Tatum v. Oberg,

650 F. Supp. 2d 185, 195 (D. Conn. 2009) (Rule 9(b) applies to claims under the Connecticut

Unfair Trade Practices Act); Univ. Baptist Church of Fort Worth v. Lexington Ins. Co., 346 F.

Supp. 3d 880, 889 (N.D. Tex. 2018) (“Claims under the [Texas Deceptive Trade Practices Act]

are subject to… Rule 9(b)”), aff’d, 787 F. App’x 194 (5th Cir. 2019).

       Finally, Plaintiffs do not allege that they are entitled to seek relief under the laws of any

state other than New York and California, where they reside. To satisfy the requirement of

Article III standing, Plaintiffs are required to allege that they personally have been injured, “not

that injury has been suffered by other, unidentified members of the class[.]” Warth v. Seldin, 422

U.S. 490, 502 (1975). The possibility that absent members of the class might have standing to

pursue claims under the indicated state statutes does not suffice to confer standing on named

Plaintiffs. Id.; see also In re G-Fees Antitrust Litig., 584 F. Supp. 2d 26, 36 (D.D.C. 2008).

                                                - 16 -
      Case 1:22-cv-10599-PBS           Document 14         Filed 06/22/22      Page 23 of 28




Because Plaintiffs lack standing to pursue claims under the laws of all states except for

California and New York, claims under those other state statutes must be dismissed.

IV.    Plaintiffs Have Not Stated a Claim For Breach of Express Warranty

       In order to assert a viable claim for the breach of an express warranty, a plaintiff must

plausibly allege that an express promise was made in connection with a transaction. See Jackson

v. Johnson & Johnson & Janssen Pharm., Inc., 330 F. Supp. 3d 616, 627 (D. Mass. 2018)

(“‘[T]he plaintiff must demonstrate that the defendant promised a specific result’”). Because

Plaintiffs do not plausibly allege that the phrase “sustainably sourced” is false, Plaintiffs cannot

state a breach of warranty claim. Lima v. Post Consumer Brands, LLC, 2019 WL 3802885, at *9

(D. Mass. Aug. 13, 2019) (dismissing breach of express warranty claim where “Honey Bunches

of Oats” both “contains and tastes like honey,” and defendants did not warrant that the cereal

would be predominantly sweetened with honey); Fitzgerald v. Polar Corp., 2020 WL 6586628,

at *4 (D. Mass. Nov. 10, 2020) (dismissing breach of express warranty claim because label

stating that drink was “Made From Real Ginger” did not constitute an affirmation or promise that

the product was made using ginger root or contained a certain amount of ginger).

V.     Plaintiffs Have Failed to State a Plausible Claim for Relief Based On Unjust
       Enrichment

       Plaintiffs have not plausibly alleged a claim for unjust enrichment either. Plaintiffs allege

that Gorton’s was unjustly enriched because Plaintiffs purchased tilapia products that “were not

what Gorton’s represented them to be.” (Compl. ¶ 188.) However, Plaintiffs’ claim fails

because—as with their other claims—Plaintiffs have not plausibly alleged that consumers would

be misled by the statement “sustainably sourced” on Gorton’s tilapia packaging. Fitzgerald,

2020 WL 6586628 at *5 (“As Polar made no actionable misrepresentation to [plaintiff] [on Polar

ginger ale label], the retention of the purchase price cannot be found to be unjust.”).

                                                - 17 -
      Case 1:22-cv-10599-PBS           Document 14         Filed 06/22/22      Page 24 of 28




       Plaintiffs’ claim also fails because they have an adequate remedy at law. When “an

adequate remedy at law” exists, an “equitable remedy of unjust enrichment is not available.”

Santagate v. Tower, 833 N.E.2d 171, 176 (2005). Here, Plaintiffs have adequate statutory

remedies available. Therefore, their unjust-enrichment claim should be dismissed. See Reed v.

Zipcar, Inc., 883 F. Supp. 2d 329, 334 (D. Mass. 2012) (the “existence of . . . [a] claim for unfair

and deceptive acts and practices precludes [a plaintiff] from bringing equitable claims for unjust

enrichment”) aff’d, 527 F. App’x 20 (1st Cir. 2013); Lima, 2019 WL 3802885 at *10 (dismissing

unjust enrichment claim because, even assuming “Plaintiffs had in fact been reasonably misled

by [the product’s] packaging, they would have no shortage of . . . statutory remedies”).18

VI.    Plaintiffs’ Attempts to Plead a Nationwide Unjust Enrichment and Breach of
       Express Warranty Class Fails

       Plaintiffs argue that Gorton’s is liable for breach of express warranty and unjust

enrichment “under the common laws of each of the states where the Products are sold.” (Compl.

¶¶ 185, 189.) Plaintiffs thus seek to certify a “Multistate Subclass” consisting of individuals who

purchased the products in 33 different states and the District of Columbia. (Compl. ¶ 92.)

       However, Plaintiffs fail to identify what states’ laws, if any, form the purported basis of

their breach of express warranty and unjust enrichment claims. (Compl. ¶¶ 178-189.)

Furthermore, Plaintiffs fail to cite the law of any state in particular, instead relying on conclusory

allegations. See id. This style of pleading is plainly insufficient. Young v. Wells Fargo &

Co., 671 F. Supp. 2d 1006, 1016–17 (S.D. Iowa 2009) (“[w]ithout reference to the law of any

particular state,” common law claims including an unjust enrichment claim were “so vague that


18
  The viability of a statutory claim is “beside the point;” the “mere availability” of an adequate
remedy at law bars the unjust enrichment claim. Reed, 883 F. Supp. 2d at 334. Thus, even if this
Court dismisses Plaintiffs’ statutory claims, Plaintiffs should not be permitted to plead unjust
enrichment in the alternative.

                                                - 18 -
       Case 1:22-cv-10599-PBS           Document 14        Filed 06/22/22      Page 25 of 28




[defendant] cannot reasonably prepare a response”); In re Wellbutrin XL Antitrust Litig., 260

F.R.D. 143, 167 (E.D. Pa. 2009) (rejecting plaintiffs’ argument that unjust enrichment claims are

substantially identical across different, states and dismissing unjust enrichment claims that were

not linked to the law of any particular state).19

VII.   Plaintiffs Lack Standing to Pursue Injunctive Relief

       In addition to monetary damages, Plaintiffs also seek injunctive relief. (Compl., Prayer

for Relief at 34.) To have standing to obtain injunctive relief, plaintiffs must demonstrate that

they face a threat of future harm from the defendants. Steir v. Girl Scouts of the USA, 383 F.3d

7, 16 (1st Cir. 2004). “Past exposure to illegal conduct” is insufficient. O’Shea v. Littleton, 414

U.S. 488, 495-96 (1974). Plaintiffs admit they no longer buy Gorton’s tilapia. (Compl. ¶ 79

(“Plaintiff Spindel . . . does not currently purchase Gorton’s Products”); id. ¶ 85 (“Plaintiff

McCarthy . . . does not currently purchase Gorton’s Products.”).) Accordingly, there is no threat

of future injury to Plaintiffs and they thus lack standing to seek an injunction.20 O’Hara v.

Diageo-Guinness, USA, Inc., 306 F. Supp. 3d 441, 466–67 (D. Mass. 2018) (“Plaintiff lacks

standing to seek an injunction because he does not allege that he is likely to purchase Extra Stout

in the future”); see also DaCorta v. AM Retail Grp., Inc., 2018 WL 557909, at *4 (S.D.N.Y. Jan.

23, 2018) (allegation that plaintiff would not have purchased the product “but for” the alleged

misrepresentation is “a concession that she will not purchase the product in the future”).




19
   See also Hines v. Overstock.com, Inc., 2013 WL 4495667, at *1, 12 (E.D.N.Y. Aug. 19, 2013)
(dismissing unjust enrichment claim where “Plaintiff failed to set forth the law under which she
brings the unjust enrichment claim.”).
20
   Plaintiffs’ allegations that they “wish[] to be able to continue purchasing Gorton’s products,”
and would purchase them if the allegedly deceptive labeling was removed, are insufficient.
(Compl. ¶¶ 80, 86.) Speculative claims regarding what Plaintiffs might do in the future do not
warrant injunctive relief. See City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983).

                                                - 19 -
      Case 1:22-cv-10599-PBS           Document 14          Filed 06/22/22     Page 26 of 28




         More fundamentally, there can be no real or immediate threat of future injury to Plaintiffs

for the additional reason that Plaintiffs do not plausibly allege that the phrase “sustainably

sourced” still is used on the packaging for Gorton’s tilapia products. Plaintiffs allege that from

2018-2020 they saw and relied on Gorton’s Signature Grilled Tilapia package, but do not allege

that that package is still in use. (Compl. ¶¶ 3, 75-76, 81-82.) If the challenged statement is no

longer on the label, there can be no threat of future injury to Plaintiffs—or the rest of the putative

class. Ehlers v. Ben and Jerry’s Homemade Inc., 2020 WL 2218858, *10-11 (D. Vt. May 7,

2020) (dismissing claim for injunctive relief because allegedly deceptive phrase was removed

from the product, making “any possibility of future deception . . . non-existent”).

                                          CONCLUSION

         For the foregoing reasons, this Court should dismiss the Complaint without leave to

amend.




Dated: Boston, Massachusetts                             MCDERMOTT WILL & EMERY LLP
       June 22, 2022

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                                                - 20 -
Case 1:22-cv-10599-PBS   Document 14      Filed 06/22/22     Page 27 of 28




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                              - 21 -
      Case 1:22-cv-10599-PBS           Document 14        Filed 06/22/22      Page 28 of 28




                                     CERTIFICATE OF SERVICE

       I hereby certify that this motion, the accompanying affidavit, and exhibits, filed through

the Court’s ECF system, will be sent electronically to the registered participants in this matter on

the Notice of Electronic Filing (NEF).


                                              /s/ Mara Theophila
                                              Mara Theophila (BBO # 704763)




                                               - 22 -
